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                                          September 1, 2020 Stipulation
                                               Attachment F
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                                                    `


Mueller, Gregory (Vol. 01) - 04/12/2019                                          1 CLIP (RUNNING 00:34:30.247)



   Mueller Direct
   MUELLER DIRECT                       63 SEGMENTS (RUNNING 00:34:30.247)

   1. PAGE 8:12 TO 8:13 (RUNNING 00:00:02.183)

             12          Q     Good morning, Mr. Mueller.
             13          A     Good morning.
   2. PAGE 17:24 TO 18:01 (RUNNING 00:00:04.481)

           24          Q    Okay, and your -- remind me.            Your title
           25     is what at CRC?
     00018:01          A    I'm president.
   3. PAGE 19:06 TO 19:09 (RUNNING 00:00:12.379)

             06        Q    Okay. So you're currently president of
             07   CRC, and it sounds like you have been for at least
             08   19 years, maybe more.
             09        A    I think that's pretty accurate.
   4. PAGE 35:17 TO 35:21 (RUNNING 00:00:22.460)

             17        Q    Okay. Is -- are you or CRC presently
             18   engaged by Mr. Daleiden?
             19        A    We, we are, we are assisting him in
             20   litigation support, if that's what you're asking,
             21   in terms of communications and media.
   5. PAGE 38:12 TO 38:14 (RUNNING 00:00:07.596)

             12        Q    Have you been doing work on let's just
             13   say at least a quarterly basis for Mr. Daleiden or
             14   CMP since 2015?
   6. PAGE 38:17 TO 38:23 (RUNNING 00:00:15.662)

             17                  THE WITNESS: I would say
             18        quarterly. It's, it's more of a hit-or,
             19        hit-or-miss relationship. When there are
             20        inflection points, we try to help them out
             21        with either communication support of some
             22        kind.
             23   BY MR. KAMRAS:
   7. PAGE 38:24 TO 39:05 (RUNNING 00:00:21.633)

           24          Q    What, what do you mean by "inflection
           25     points"?
     00039:01          A    I would say with the, with the various
           02     litigation, there is -- again, we, we're a PR
           03     firm, so we do litigation communications work on
           04     occasion, and he falls into that category on
           05     occasion due to some of these lawsuits.
   8. PAGE 42:08 TO 42:21 (RUNNING 00:00:29.233)

             08        Q    -- which is I wanted to know: In the
             09   period of time that you, that CRC has been
             10   providing services to Mr. Daleiden and CMP,
             11   spanning to 2015 --
             12        A    Okay.
             13        Q    -- do you know whether your services,
             14   CRC's services, have been paid for by a third

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          15   party?
          16        A       Am I aware of that?
          17        Q       Yes.
          18        A       Yes.
          19        Q       Okay, and do you know who or what third
          20   parties?
          21        A       If I recall, Students For Life.
9. PAGE 48:09 TO 48:14 (RUNNING 00:00:16.228)

          09        Q    Okay, and CRC was involved in the
          10   process by which those tapes were released and,
          11   and the media campaign associated with the release
          12   of those tapes?
          13        A    Yeah, our job was to basically help get
          14   publicity for them.
10. PAGE 60:04 TO 60:25 (RUNNING 00:01:17.881)

          04        Q    And so what did you do between
          05   graduating from college and 1989?
          06        A    Oh, boy. I came to Washington, and I
          07   worked in the mail office of the United States
          08   Senate, pitching mail at 4:30 in the morning. I
          09   did some fundraising work for different potential
          10   candidates, some -- mostly volunteer work for
          11   those first three months after I graduated, and
          12   then, then after that, I think I was a file clerk
          13   in a law firm.
          14        Q    I'm sorry.
          15        A    They talked me out of going to law
          16   school.
          17             And then after that, I think I joined
          18   another -- I think I joined a think tank, and then
          19   I went to another PR firm before we founded or CRC
          20   was founded.
          21             I think that covers it, to my best
          22   recollection.
          23        Q    What think tank?
          24        A    It was, it was called the National
          25   Conservative Foundation back then.
11. PAGE 61:12 TO 61:13 (RUNNING 00:00:13.327)

          12        Q    It's a media watchdog group that watches
          13   for liberal bias; is that correct?
12. PAGE 61:16 TO 61:19 (RUNNING 00:00:09.554)

          16                    THE WITNESS: Well, it does a lot
          17          of things. One of the things it does is
          18          documents liberal media bias, and it does
          19          analysis, studies.
13. PAGE 65:13 TO 65:24 (RUNNING 00:00:50.593)

          13        Q     Okay. So in, in 2015, you were, as
          14   we've established, you were president of CRC.
          15   What was -- what were your responsibilities as
          16   president?
          17        A     Well, generally to play the role of the
          18   strategist and consultant for our clients, engage
          19   in media outreach, media relationships, if you
          20   will, do some, some writing, and then I oversee
          21   some of the higher level staff, but I oversee
          22   staff.
          23              I think that probably hits most of the
          24   highlights.



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14. PAGE 66:05 TO 66:06 (RUNNING 00:00:04.410)

          05        Q    And what does it mean to help plan
          06   publicity efforts?
15. PAGE 66:09 TO 66:15 (RUNNING 00:00:20.004)

          09                    THE WITNESS: It's usually general
          10          press materials in terms of, you know, how do
          11          you roll something out to get news attention.
          12          How do you -- press releases or statements
          13          that are going to be published, to get that
          14          information out to the public through the
          15          press.
16. PAGE 72:07 TO 72:16 (RUNNING 00:00:39.717)

          07        Q    Okay. How did you first become aware of
          08   Mr. Daleiden?
          09        A    I think I first met David when he was
          10   working for Live Action. I don't fully recall,
          11   but I think that's when I first -- actually, I
          12   don't even know if I physically met him. He was
          13   on conference calls.
          14        Q    And what is Live Action?
          15        A    It's a pro-life group, best I could
          16   describe it.
17. PAGE 73:06 TO 73:07 (RUNNING 00:00:05.805)

          06          Q     Was CRC engaged by Live Action?
          07          A     Yes.
18. PAGE 80:25 TO 81:21 (RUNNING 00:01:20.283)

        25           Q   Okay. So the, the undercover videos
  00081:01     that Mr. Daleiden filmed were released in July of
        02     2015.
        03               Do you recall that?
        04           A   I don't recall the exact date, but I
        05     think that in that time frame is correct.
        06           Q   So with that -- and we'll date it with
        07     more specificity later, but with that frame in
        08     mind, can you tell me whether this call that you
        09     were describing when Mr. Daleiden reached out to
        10     you to solicit CRC's services, did that occur in
        11     2015 or was it even before 2015?
        12           A   I'm not 100 percent sure, but I'm fairly
        13     confident that he called us within the same year,
        14     calendar year as he was planning to release the
        15     videos. In other words, I don't think we -- I
        16     don't think -- I think when he reached out to us,
        17     it was in, it was in a -- I think it was in a --
        18     I'm not fully confident about this, so I don't
        19     recall specifically, but I think it was -- there
        20     wasn't a lot of time between the time he called us
        21     and the time he was releasing these videos.
19. PAGE 89:25 TO 90:04 (RUNNING 00:00:10.932)

        25               When you had that first call and he
  00090:01     described these videos as "undercover" videos, was
        02     it your impression that the Planned Parenthood
        03     providers were aware of the fact that they were
        04     being filmed?
20. PAGE 90:08 TO 90:12 (RUNNING 00:00:13.251)

          08                    THE WITNESS: I mean I, I was
          09          assuming, which is an assumption, that when


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          10          somebody says they're going undercover, that
          11          the person that they're interviewing is not
          12          aware that they are being interviewed.
21. PAGE 91:22 TO 91:25 (RUNNING 00:00:18.681)

          22        Q    Okay, so -- and were you aware -- either
          23   on that first call or at any later point, did
          24   Mr. Daleiden describe to you how he was able to
          25   get access to these conferences?
22. PAGE 92:03 TO 92:06 (RUNNING 00:00:10.443)

          03                    THE WITNESS: I don't recall any
          04          discussion about how he went about it. Most
          05          of our discussions were about how we would
          06          get publicity once he published the videos.
23. PAGE 92:19 TO 92:23 (RUNNING 00:00:18.260)

          19        Q    Did -- again, on that first phone call
          20   or at any other time, did Mr. Daleiden discuss
          21   with you having procured a false driver's license
          22   in order to gain access to either conferences or
          23   Planned Parenthood facilities?
24. PAGE 93:01 TO 93:04 (RUNNING 00:00:13.675)

  00093:01                      THE WITNESS: I don't recall him --
        02            I don't recall him ever informing me of that.
        03            Most of our conversations were about media,
        04            strategy to get publicity for the videos.
25. PAGE 105:05 TO 105:15 (RUNNING 00:00:29.769)

          05         Q   Yeah, so let's take the first video.
          06   That first video; do you recall the first video
          07   that was released on July 14, 2015, involved
          08   Dr. Nucatola of Planned Parenthood? Do you recall
          09   that?
          10         A   I recall the video.
          11         Q   Okay, and you recall that at least
          12   portions of that video were from a lunch that
          13   Dr. Nucatola had with Mr. Daleiden when he was
          14   posing undercover, correct?
          15         A   Yes, I'm aware of that.
26. PAGE 105:23 TO 105:25 (RUNNING 00:00:11.759)

          23             There was a -- the video that was
          24   released on July 14, 2015, by CMP was not the
          25   video of the entire lunch, correct?
27. PAGE 106:03 TO 106:22 (RUNNING 00:01:01.593)

          03                  THE WITNESS: I'm aware that the
          04        videos -- there's raw footage, and then
          05        there's the videos that were published for,
          06        for public interest purposes.
          07   BY MR. KAMRAS:
          08        Q    Okay. Did you -- prior to the release
          09   of any of the videos, whether on July 14 or
          10   otherwise, did you watch, as you put it, the "raw
          11   footage" from which the released videos were
          12   taken?
          13        A    I watched, I watched, I watched the
          14   videos that he was producing. I don't, I don't
          15   recall if I watched all the hours of the videos.
          16        Q    Okay, and when you say "the videos that
          17   he was producing," just so we're clear, you're


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          18   referring to the videos that typically ran a
          19   number of minutes, correct?
          20        A    Yeah.
          21        Q    They would be maybe five minutes or
          22   maybe even as long as ten minutes long, correct?
28. PAGE 107:01 TO 107:09 (RUNNING 00:00:22.123)

  00107:01                      THE WITNESS: So the videos I
        02            reviewed were what he was planning to release
        03            to the public, and then our job was to help
        04            him get attention for those. These videos
        05            were very similar to how you put a news
        06            segment together, but frankly they were
        07            longer than your average news segment that
        08            you see on the nightly news or on cable TV.
        09            Those are the videos I, I mostly focused on.
29. PAGE 107:11 TO 107:16 (RUNNING 00:00:26.481)

          11        Q    Okay, and you don't recall having viewed
          12   the, as you put it, the "raw footage" from which
          13   it was taken -- from which these produced videos
          14   were taken?
          15        A    I don't recall looking at hours and
          16   hours of video, the raw, the raw video.
30. PAGE 107:17 TO 108:25 (RUNNING 00:01:48.986)

        17          Q     Still focusing on the period of time
        18     before the first video was released on July 14,
        19     2015, did Mr. Daleiden, whether on that first call
        20     or thereafter, describe to you what he hoped to
        21     accomplish by releasing these videos to the
        22     public?
        23          A     I don't recall. On that first call --
        24     my best recollection of that first call and much
        25     of the planning that we were involved in was about
  00108:01     the strategy to get the videos out through the
        02     media to the public. That was generally what most
        03     of our conversations were about.
        04          Q     Okay, but you understood that, as with
        05     most clients, he had some reason for releasing
        06     these videos, right?
        07          A     Sure. I think he was trying to get the
        08     truth out about what he found.
        09          Q     Okay, so that's -- I want to know what
        10     he told you about, if anything, about what his
        11     purpose was in releasing the videos.
        12          A     This is on the first call or just
        13     generally?
        14          Q     At any time prior to the release of the
        15     first video.
        16          A     Okay. I don't recall we had very much
        17     of a conversation about what he was trying to
        18     accomplish. It seemed to me to be pretty obvious.
        19     He was -- he had video of what was being, was
        20     happening at these events, what they were talking
        21     about, and he wanted to release that to the
        22     public, and, and -- but I don't recall him
        23     specifically saying here's our end game or here's
        24     our objective. I don't, I don't recall that. It
        25     may have happened, but I don't recall it.
31. PAGE 116:06 TO 116:08 (RUNNING 00:00:07.705)

          06        Q    But you understand that that was his
          07   intent, right? His intent was to create negative
          08   public relations for Planned Parenthood?

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32. PAGE 116:11 TO 116:17 (RUNNING 00:00:12.608)

          11                    THE WITNESS: My understanding of
          12          his intent -- and you'd have to ask him these
          13          questions, and I'm sure you, you will -- was
          14          he was simply trying to get this information
          15          out to the public. He was trying to get the
          16          truth out to the public based on what his
          17          investigations had found.
33. PAGE 121:12 TO 121:25 (RUNNING 00:00:47.285)

          12             What he says in this goal statement or
          13   statement of goal is -- you're right. He
          14   references illegality, but what he says is "to
          15   leverage evidence of Planned Parenthood's illegal
          16   supply of fetal tissue to maximum negative
          17   impact -- legal, political and professional,
          18   public -- on Planned Parenthood."
          19             And so I want to understand whether
          20   Mr. Daleiden expressed to you an intent and
          21   expectation that by releasing these videos, having
          22   filmed, produced and released these videos, that
          23   he could leverage, make use of what he claimed was
          24   evidence of illegal conduct in order to inflict
          25   maximum negative impact on Planned Parenthood?
34. PAGE 122:03 TO 122:16 (RUNNING 00:00:35.155)

          03                    THE WITNESS: I don't recall
          04          specifically him putting it quite that way,
          05          but I, I recall conversations, although again
          06          most of our conversations were about
          07          publicity efforts, but I do recall
          08          conversations in which he was talking about
          09          that there were potentially illegal acts, in
          10          his view, that was going on, or illegal
          11          activity that was going on here, and that
          12          this might have an impact on taxpayer funding
          13          of the organization, that therefore these
          14          videos would be of interest to the public who
          15          are paying the taxes for that, that
          16          organization.
35. PAGE 130:07 TO 132:01 (RUNNING 00:02:26.820)

        07                Were you or CRC involved in helping to
        08     coordinate messaging with AUL, NRLC, and SBA
        09     concerning the release of the videos that
        10     Mr. Daleiden had filmed and produced?
        11          A     I mean -- do you mean was I talking to
        12     these organizations on how they should message
        13     once they came out?
        14          Q     Well, start there, sure.
        15          A     So again, our role in here in terms of
        16     what they hired our PR firm to do was to provide a
        17     media strategy to get the videos out once they
        18     were published, and then that usually included a
        19     press release that would go out to all the groups
        20     so they could engage with that content and get
        21     messages out as they saw fit to their audiences.
        22     That's generally what we did.
        23          Q     And did you have conversations with AUL,
        24     NRLC, and SBA about what those press releases
        25     should say or what the messaging about the videos
  00131:01     should be?
        02          A     I don't recall -- I -- to the best of my
        03     knowledge, we didn't write any of their press


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        04     releases for them.
        05                In terms of us suggesting how they might
        06     communicate or what was on the videos, that was
        07     sort of in the press releases already. All we did
        08     was push them out, if you will, to different, some
        09     of these different enterprises.
        10                By the way, not all these enterprises.
        11     I don't know that -- I don't recall some of these
        12     enterprises being on list distributions when we
        13     released videos, myself. Some of them were, but
        14     I'd have to go back and look. I don't recall all
        15     these organizations being on those distributions,
        16     but the idea, the general question I think you're
        17     asking is, did we assist in the messaging of, of
        18     what was on these videos. Yes. That was part of
        19     our role.
        20          Q     And how did you assist in that
        21     messaging?
        22          A     Basically when the videos were coming
        23     out, the press releases would go out, and then we
        24     would communicate what was on the videos.
        25     Basically the content again was already there.
  00132:01     You didn't have to do very much messaging.
36. PAGE 132:02 TO 132:13 (RUNNING 00:00:45.049)

          02        Q    When you say you would, you, CRC, would
          03   communicate the content of the videos, communicate
          04   to whom? Just to make sure I understand.
          05        A    So when the press releases were written,
          06   we would send out emails to media and
          07   organizations, alerting them to what was the
          08   content of the videos, and then there would be a
          09   statement from Mr. Daleiden in those. He mostly
          10   wrote his own stuff and his own statements. He
          11   would consult with me, "is this the best way to
          12   say this," or something like that.
          13        Q    Okay. Why don't we turn to Exhibit 304.
37. PAGE 132:24 TO 135:06 (RUNNING 00:02:34.487)

        24          Q    I wanted to talk about this, because you
        25     had referenced distribution lists --
  00133:01          A    Yes.
        02          Q    -- and organizations that were on the
        03     distribution lists, and you'll see that this is --
        04     this, which is Exhibit 304, is an email dated
        05     July 13, 2015.
        06               Do you see that?
        07          A    Yes, I do.
        08          Q    Okay, and so that's the day before the
        09     first video was to be released, correct?
        10          A    I don't recall the exact date of when
        11     the first video, but --
        12          Q    Well, look down at the bottom of this
        13     email, and you'll see --
        14          A    So there's the -- okay, so there's the
        15     embargo. Got it. Got it.
        16          Q    Let me -- so we're not talking over each
        17     other, if you look down at the bottom of the
        18     email, you'll see that there's an "embargoed press
        19     release concerning the release of a video
        20     concerning Planned Parenthood," right?
        21               Do you see that?
        22          A    That's correct.
        23          Q    Okay, and it's embargoed until 8:00 a.m.
        24     on July 14, 2015, correct?


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        25          A    Correct.
  00134:01          Q    Okay, and this email is dated the day
        02     before, July 13.
        03               Do you see that?
        04          A    Yes, I do.
        05          Q    Okay, and there are quite a number of
        06     people who are identified on the "to" list.
        07               Do you see that?
        08          A    Yes, I do.
        09          Q    Okay, and is this one of -- you had
        10     mentioned that you recall there being like
        11     distribution lists in which or through which the
        12     videos would be circulated or press releases would
        13     be circulated, and is this an example of such a
        14     distribution list?
        15          A    I mean are you asking me if the
        16     information that we sent out when we release
        17     videos, did it go to this list every time?
        18          Q    This list or a, you know, similar list.
        19          A    It would, it would be a similar list,
        20     not this exact list.
        21          Q    Okay, and, and this list includes --
        22     you'll see that the email that Mr. Daleiden writes
        23     is -- the greeting is "Dear Pro-Life Leaders."
        24               Do you see that?
        25          A    Yes, yes. I'm sorry. Yes.
  00135:01          Q    You do? Okay, and the, the people to
        02     whom this list -- excuse me -- this email was sent
        03     include people from Americans United for Life,
        04     right?
        05               You see Charmaine Yoest there?
        06          A    Yes, I do see Charmaine's name there.
38. PAGE 136:03 TO 136:06 (RUNNING 00:00:07.694)

          03        Q    Okay. There's Reverend Pavone from --
          04   the national director of Priests for Life.
          05             Do you see that?
          06        A    Yes, I see his name.
39. PAGE 136:11 TO 136:17 (RUNNING 00:00:12.765)

          11         Q      Okay. There's Cheryl Sullenger from
          12   Operation    Rescue, correct?
          13         A      She's on here, yeah.
          14         Q      Okay. Shawn Carney from 40 Days For
          15   Life.
          16                Do you see him?
          17          A     I do see him.
40. PAGE 137:24 TO 138:16 (RUNNING 00:00:39.985)

        24          Q    Yeah, you had previously mentioned that,
        25     for example, prior to the release of a video, you
  00138:01     would circulate the -- a press release, that you
        02     would circulate the video, that there was some
        03     discussion about messaging with other pro-life
        04     organizations.
        05               Do you recall that testimony?
        06          A    Yes, yes, yes. So, so if there were --
        07     so information before a video, this video, went
        08     out, obviously reached these people.
        09          Q    Okay, and so I was just confirming that
        10     prior to the release of the video, there was,
        11     there was some coordination along the lines that
        12     you had just described with --
        13          A    True.
        14          Q    -- these or other pro-life

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          15   organizations.
          16        A    Accurate.
41. PAGE 146:11 TO 146:12 (RUNNING 00:00:07.265)

          11                    MR. KAMRAS: Okay. I'm going to
          12          mark as next in order, which is Exhibit 321.
42. PAGE 146:16 TO 146:17 (RUNNING 00:00:19.609)

          16        Q    This is an email string which is dated
          17   July 15, 2015, Bates-stamped CM20708 through 717.
43. PAGE 146:25 TO 147:23 (RUNNING 00:01:08.838)

        25          Q    Okay, and you'll see that this is
  00147:01     July 15, the day after the videos -- the first,
        02     excuse me, of the videos was released, and there's
        03     an email roughly in the middle of the page from
        04     Autumn Christensen --
        05          A    Yes.
        06          Q    -- at 12:52 p.m. Do you see that?
        07          A    Yes, I see it.
        08          Q    Okay. Do you know who Autumn
        09     Christensen is?
        10          A    Yes.
        11          Q    Who is Autumn?
        12          A    Autumn is, is a pro-life sort of
        13     activist, but she worked on Capitol Hill for a
        14     while. I think during this period she was on
        15     Capitol Hill.
        16          Q    Is -- Autumn worked with the Pro-Life
        17     Caucus; is that correct?
        18          A    I think that's correct, yes.
        19          Q    Okay, and the Pro-Life Caucus, if I
        20     understand correctly from Mr. Robbio yesterday, is
        21     a caucus of members of Congress who are pro-life;
        22     is that correct?
        23          A    That's correct.
44. PAGE 150:14 TO 151:04 (RUNNING 00:00:59.929)

        14          Q    All right, and so was -- were you or CRC
        15     involved in working with members of Congress or,
        16     or other politicians prior to the release of this
        17     first video on July 14?
        18          A    Most of our work was all publicity and
        19     media, so we, we're not, we're not a lobbyist, so
        20     we don't normally do work with anybody on the Hill
        21     in that regard in terms of lobbying or anything
        22     like that. Work product that we're involved with
        23     might find its way up to the Hill through others
        24     or we might send it out.
        25               You know, obviously I was communicating
  00151:01     with Autumn as, as -- I forget what her title was
        02     at the Pro-Life Caucus, but most of the work we do
        03     is more publicity driven, not trying to work
        04     legislation or anything like that.
45. PAGE 151:05 TO 151:13 (RUNNING 00:00:26.121)

          05        Q    Okay, but you, you did understand that
          06   the communications or the, the literature or other
          07   material that you provided to Ms. Christensen
          08   would end up with at least some members of the
          09   Pro-Life Caucus?
          10        A    I don't know what she did with them when
          11   she got them, but I would assume that she would
          12   share certain bits of information with the members


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          13   of her caucus.
46. PAGE 151:25 TO 152:21 (RUNNING 00:01:16.854)

        25          Q    And on -- and you said that most of your
  00152:01     work was with respect to media, and so what work
        02     did you or CRC do prior to the release of the
        03     first video to -- or with media in order to
        04     prepare them for the release of the media --
        05     excuse me -- of the videos?
        06          A    So our basic work before the -- you're
        07     asking what was the work that you would do before
        08     the video would be released?
        09          Q    Yeah, yeah.
        10          A    Okay. So our work would mostly be
        11     involved with -- David largely wrote the press
        12     releases, because he was the one that was most
        13     familiar with what the videos were, the content of
        14     them. We mostly would discuss how we were going
        15     to then get the videos out to the public and which
        16     media outlets, or would you specifically pick one
        17     or two journalists to give them to first, what's
        18     known in our industry as an "exclusive," or did we
        19     think we should just let them out and, and, and
        20     have the media react to them however they saw fit
        21     from a news standpoint.
47. PAGE 166:06 TO 166:07 (RUNNING 00:00:09.741)

          06        Q    Okay. Why would it be a problem if any
          07   of what Mr. Daleiden said had been wrong?
48. PAGE 166:11 TO 166:23 (RUNNING 00:00:33.559)

          11                    THE WITNESS: Okay. First of all,
          12          as a public relations professional, we have
          13          an obligation to make sure that information
          14          that's going out is, is based on some level
          15          of evidence, and we were very careful, if I
          16          recall, during this, to stick to what was
          17          found in his investigation on those videos,
          18          the things he found in his investigation
          19          based on those videos.
          20                    So I was always trying to be
          21          careful, the best of my recollection at the
          22          time, to be -- not to have any of this be
          23          speculative.
49. PAGE 167:11 TO 167:19 (RUNNING 00:00:26.860)

          11        Q    But we discussed earlier that you did
          12   not view the raw footage of the videos prior to
          13   the produced versions of the videos being
          14   released, correct?
          15        A    The best of my recollection, I did not
          16   sit through hours and hours of whatever video, raw
          17   video he had. I was mostly focused on him saying
          18   here is the stuff I'm going to publish, what do
          19   you think, and I give him my opinion.
50. PAGE 169:08 TO 170:01 (RUNNING 00:01:00.817)

          08        Q    All right, and just to be clear, what
          09   you, what you had that you were looking at was the
          10   produced versions of the videos that were going to
          11   be released publicly?
          12        A    That, that's my recollection, okay? I,
          13   I don't recall seeing a lot of footage beyond
          14   that, but I probably saw some.


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        15          Q    Okay.
        16          A    One point I will make on that, though.
        17     All of the video footage -- most of the video
        18     footage that he got was published up afterwards.
        19     So in other words, they would go out with a five-
        20     to seven-, ten-minute video, whatever he was -- on
        21     any of these different sequences, and then after
        22     that was published, he would put, if I recall, the
        23     rest of the raw video largely up on the website,
        24     which, I might add, is more than a lot of news
        25     organizations do after they interview for 30
  00170:01     minutes.
51. PAGE 172:06 TO 172:14 (RUNNING 00:00:24.370)

          06        Q    I'm asking if --
          07        A    -- as a PR professional?
          08        Q    -- at the time, at the time when you
          09   were actually engaged in this project, what was
          10   your expectation about whether people were going
          11   to be more like -- once videos were released,
          12   whether people were going to be more likely to
          13   view the short produced versions of the videos or
          14   the long unedited versions of the videos.
52. PAGE 172:17 TO 174:04 (RUNNING 00:01:35.455)

        17                    THE WITNESS: So I think our -- my
        18          approach, my understanding of this was that
        19          we were trying to produce it very similar to
        20          how the news business goes about producing a
        21          report.
        22                    You get, you get a lot of footage
        23          in your investigation. You can't use all of
        24          it, because you have to disseminate it in a
        25          reasonable way for the public to capture, and
  00173:01          that was basically what was done. It's very
        02          similar to how you would produce a short -- a
        03          longer form segment on a news program. So
        04          that was basically the expectations.
        05                    Obviously, people are going to tend
        06          to review something in a shorter form than
        07          they are a longer form, but I think David was
        08          very adamant about always, I think, pretty
        09          sure, putting up information, the whole video
        10          so people could see that, journalists could
        11          look at it, and the public could see it, but
        12          the idea that you would shorten a video to,
        13          to get it out, just similar like the news
        14          media does when they do their reporting, was
        15          certainly the way, the way he went about it.
        16     BY MR. KAMRAS:
        17          Q    Okay, and I appreciate that explanation,
        18     but what I heard in the middle of all that
        19     explanation was an agreement that people were more
        20     likely to view the short videos than the long
        21     unedited versions.
        22          A    I think it's an accurate statement that
        23     people are going to see something in a shorter
        24     form than a longer form, and that might then pique
        25     their interest to go look at the longer form.
  00174:01          Q    Okay, and, and that was your expectation
        02     at the time that these videos were released,
        03     correct?
        04          A    I think that's a fair assessment.




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53. PAGE 224:16 TO 224:18 (RUNNING 00:00:12.207)

          16                    MR. KAMRAS: Okay. We're going to
          17          mark as next Exhibit 326, and this one I
          18          actually don't have another copy of.
54. PAGE 224:24 TO 225:12 (RUNNING 00:00:52.545)

        24          Q    All right. So this document which has
        25     been marked as Exhibit 326 is a two-page exchange
  00225:01     which is Bates-stamped CM07386 through 87, and it
        02     is dated in early May of 2015.
        03               Do you see that?
        04          A    I do.
        05          Q    Okay, and it begins with, on May 1, with
        06     Kellyanne Conway emailing Mr. Daleiden.
        07               Do you see that?
        08          A    I, I do.
        09          Q    And she says, "Dear Mr. Daleiden, thank
        10     you for contacting us with respect to your focus
        11     group needs," right?
        12          A    I do see that, yes.
55. PAGE 227:14 TO 227:15 (RUNNING 00:00:07.864)

          14        Q    Okay. So now I'll have you look at what
          15   was previously marked as Exhibit 316.
56. PAGE 242:04 TO 242:06 (RUNNING 00:00:10.013)

          04        Q    So isn't that a yes, that you expected
          05   that the videos would generate negative publicity
          06   and reaction towards Planned Parenthood?
57. PAGE 242:15 TO 243:16 (RUNNING 00:01:14.746)

        15                    THE WITNESS: Our goal in the, in
        16          this whole thing was to take David's
        17          investigation, what he found, which pretty
        18          much is on those videos, and, and take it to
        19          the public and, and, and encourage the public
        20          to see what's happening with money that
        21          they're, as taxpayers, funding an
        22          organization, and that organization is
        23          engaging in -- and that, in our view, was in
        24          the public interest, and the fact that we
        25          would hopefully get members of Congress or
  00243:01          elected officials or policymakers to consider
        02          that information in the things they do daily
        03          as representatives was absolutely one of the
        04          goals.
        05     BY MR. KAMRAS:
        06          Q    Okay, and I understand you, you keep
        07     talking about the goals, and what I actually asked
        08     you about was your expectation.
        09               And so isn't it true that your
        10     expectation is that in bringing this
        11     information -- that is, the videos -- to light,
        12     and in particular in doing so in swing states and
        13     key markets, as you put it, and targeting
        14     vulnerable Democrats, that you expected that these
        15     videos were going to generate negative publicity
        16     and attention for Planned Parenthood?
58. PAGE 243:21 TO 243:24 (RUNNING 00:00:07.093)

          21                    THE WITNESS: I don't think I
          22          expected that if people saw these, they would
          23          be excited about what was happening in


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          24          Planned Parenthood clinics.
59. PAGE 265:02 TO 265:03 (RUNNING 00:00:12.016)

          02                    MR. KAMRAS: And I'm going to mark
          03          as next in line, which is Exhibit 330.
60. PAGE 265:07 TO 266:03 (RUNNING 00:00:55.686)

        07          Q    This is an article from the Judicial
        08     Crisis Network, or I should say it's a post from
        09     the Judicial Crisis Network.
        10               Are you familiar with the Judicial
        11     Crisis Network?
        12          A    Yes, I am.
        13          Q    Okay. What is it?
        14          A    It is a judicial activist 501(c)(4)
        15     organization that gets involved in judicial
        16     issues.
        17          Q    And in -- you'll see that this is
        18     actually a press release, I guess, and it's dated
        19     January 9, 2017, and the contact for the press
        20     release is Peter Robbio.
        21               Do you see that?
        22          A    Yes.
        23          Q    Okay, and do you know whether
        24     Mr. Robbio, in fact, worked on the campaign for
        25     the Judicial Crisis Network?
  00266:01          A    Yes. Peter was, was one of our
        02     executives that worked on -- comes in and out of
        03     the JCN operation.
61. PAGE 269:07 TO 269:12 (RUNNING 00:00:17.820)

          07        Q    Do you, do you consider yourself a,
          08   either a high-level GOP or a conservative campaign
          09   professional?
          10        A    I would say part of my 30-year career,
          11   it has involved working on conservative campaigns,
          12   so it's probably an accurate reflection.
62. PAGE 277:09 TO 277:12 (RUNNING 00:00:10.261)

          09        Q    In the third paragraph, it begins, "CRC
          10   Public Relations is a staple of the conservative
          11   public affairs ecosystem."
          12             Do you agree with that statement?
63. PAGE 277:17 TO 277:20 (RUNNING 00:00:11.643)

          17                    THE WITNESS: "Is a staple of the
          18          conservative public affairs ecosystem." I
          19          mean we're a public relations firm that works
          20          with conservative groups and organizations.




                                                           TOTAL: 1 CLIP FROM 1 DEPOSITION (RUNNING 00:34:30.247)




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